                                    3:12-cv-03087-RM-TSH # 181               Page 1 of 2
                                                                                                                  E-FILED
Judgment in a Civil Case (02/11)                                            Tuesday, 22 November, 2016 11:47:12 AM
                                                                                        Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                          for the
                                                 Central District of Illinois


         Beverly Throgmorton, Delores                          )
         Henry, Patricia Phillips, Jacqueline                  )
         Hegwood, Sandra Brown, and Iesha                      )
         Brown,                                                )
                                                               )
                                           Plaintiffs,         )
                                                               )
                                   vs.                         )      Case Number: 12-3087
                                                               )
         Reynolds, Anderson, Dallas,                           )
         Edmonson, Johnson, Leonetti,                          )
         Dowdy, Pfeiffer, Craig, Slater,                       )
         Krudup, Unknown Illinois Department                   )
         Of Corrections Employees,                             )
         Melody Hulett, Krull, M Brooks,                       )
         Butler, Last, Bender, Boch, Brown,                    )
         Dilley, Hinton, Johner, Johnson,                      )
         Kenney, Killam, Mathias, Rickord,                     )
         Spaniol, Van Middlesworth, Warden,                    )
         Deborah Hatfield, Alan Pasley, Eddie                  )
         Jones, Renee Hatfield, Angela Locke,                  )
         Felipe Zavala, Joseph Yurkovich,                      )
         Christine Brannon, and Michael                        )
         Atchison,                                             )
                                                               )
                                           Defendants.         )


                                             JUDGMENT IN A CIVIL CASE

             ☒ JURY VERDICT.             This action came before the Court for a trial by jury.    The issues
         have been tried and the jury has rendered its verdict.


             ☐ DECISION BY THE COURT.                    This action came to trial or hearing before the Court.
         The issues have been tried or heard and a decision has been rendered.


              IT IS ORDERED AND ADJUDGED, pursuant to the jury verdict rendered on
         11/21/2016, judgment is entered in favor of the Defendants and against the Plaintiffs.
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Judgment in a Civil Case (02/11)




         3/28/2013 ---- Defendant Deborah Hatfield terminated per Fourth Amended Complaint.

              4/14/2016 ---- Defendants Unknown Illinois Department of Corrections Employees, M
         Brooks, Last, Bender, Boch, Brown, Dilley, Hinton, Johner, Kenney, Killam, Mathias, Rickord,
         Van Middlesworth, Warden, Joseph Yurkovich, Eddie Jones, and Angela Locke terminated per
         Order entered by Judge Richard Mills.

               11/9/2016 ---- Defendants Anderson, Dallas, Edmonson, Johnson, Leonetti, Pfeiffer,
         Slater, Krudup, Krull, Butler, Johnson, and Spaniol terminated per Text Order entered by Judge
         Richard Mills.



         Dated:        November 22, 2016


                                                     s/ Kenneth A. Wells
                                                     Kenneth A. Wells
                                                     Clerk, U.S. District Court
